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DISTRICT COURT
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UNITED STATES DISTRICT COURT rece Ea FILED

DISTRICT OF MAINE
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UNITED STATES OF AMERICA )
)
v. ) Crim. No. _/ q “¢ rl Fe ET ELERK ~~
)
NATHANIEL RIVERA )

AGREEMENT TO PLEAD GUILTY
(WITH STIPULATIONS AND APPEAL WAIVER)

The United States of America, by and through Halsey B. Frank, United States Attorney
for the District of Maine, and David B. Joyce, Assistant United States Attorney, and Nathaniel
Rivera (hereinafter "Defendant"), acting for himself and through his counsel, Amy Fairfield,
Esquire, enter into the following Agreement based upon the promises and understandings set
forth below.
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1. Guilty Plea. Defendant agrees to plead guilty to Count One of the-dnformationr N k
pursuant to Rule 11 of the Federal Rules of Criminal Procedure (Fed. R. Crim. P.}. Count One
of oP ante cn with conspiracy to commit a Hobbs Act robbery, in
violation of Title 18, United States Code, Section 1951 (a).
2. Sentencing/Penalties. Defendant agrees to be sentenced on the charge described
above. Defendant understands that the penalties that are applicable to Count One of the
Sper Exdiclnent” A) ollows:
A, A maximum prison term of 20 years;
B. A maximum fine of $250,000;
C. A mandatory special assessment of $100.00 for each count of conviction

which Defendant agrees to pay at or before the time that he enters a guilty
plea; and
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A term of supervised release of not more than three years. Defendant
understands that his failure to comply with any of the conditions of
supervised release may result in revocation of supervised release,
requiring Defendant to serve up to two additional years in prison for any
such revocation of supervised release pursuant to 18 U.S.C. § 3583.

3. Agreements Regarding Sentencing. The parties agree to make the following non-

binding recommendation as to sentencing:

A.

The parties agree to recommend that the Court find that the
Defendant has accepted responsibility for the offense of
conviction, and that the Court should reduce the Defendant’s
Adjusted Offense Level pursuant to U.S.S.G. § 3E1.1. The
Government reserves the right not to recommend a reduction under
U.S.S.G. § 3E1.1 if, at any time between his execution of this
Agreement and sentencing, Defendant: (a) fails to admit a
complete factual basis for the plea; (b) fails to truthfully admit his
conduct in the offense of conviction; (c) engages in conduct which
results in an adjustment under U.S.S.G. § 3C1.1; (d) falsely denies
or frivolously contests relevant conduct for which the Defendant is
accountable under U.S.S.G. § 1B1.3 or previous convictions that
the defendant has sustained; or (e) engages in new criminal
conduct. Defendant understands that he may not withdraw the
guilty plea if, for any of the reasons listed above, the Government
does not recommend that he receive a reduction in Offense Level
for acceptance of responsibility.

The parties expressly agree and understand that should the Court the reject the recommendation

of the parties, Defendant will not thereby be permitted to withdraw his plea of guilty. The

parties agree and understand that the Court has the discretion to impose any lawful sentence.

4. Appeal Waivers. Defendant is aware that Title 18, United States Code, Section

3742 affords a defendant the right to appeal the sentence imposed. Knowing that, Defendant

waives the right to appeal the following:

A,

B.

Defendant’s guilty plea and any other aspect of Defendant’s conviction in
the above-captioned case; and

A sentence of imprisonment that does not exceed 60 months.
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Defendant’s waiver of his right to appeal shall not apply to appeals based on a right that has been
newly recognized by the Supreme Court and made retroactively applicable to cases on collateral
review.

The number of months mentioned in this paragraph does not necessarily constitute an
estimate of the sentence that the parties expect will be imposed.

5. Consequences of Breach. If Defendant violates or fails to perform any
obligations under this Agreement (“a breach”), the United States will be released from its
obligations hereunder and may fully prosecute Defendant on all criminal charges that can be
brought against Defendant. With respect to such a prosecution:

A. The United States may use any statement that Defendant made pursuant to
this Agreement, including statements made during plea discussions and
plea colloquies, and the fact that Defendant pleaded guilty, and Defendant
hereby waives any claim under Rule 410 of the Federal Rules of Evidence
or Rule 11(£) of the Federal Rules of Criminal Procedure that such
statements and guilty plea are inadmissible.

B. Defendant waives any and all defenses based on the statute of limitations
with respect to any such prosecution that is not time-barred on the date
that this Agreement is signed by the parties.

If the United States chooses to exercise its rights under this paragraph, the determination of
whether Defendant has committed a breach shall be made by the Court upon an appropriate
motion. In a proceeding on such motion, the United States shall have the burden to establish
Defendant’s breach by a preponderance of the evidence.

6. Speedy Trial Waiver. Defendant agrees to waive, and hereby does waive, any and
all rights he might have under the Speedy Trial Act, 18 U.S.C. §§ 3161-64, from the date of the

execution of this Agreement and continuing thereafter through and including the date upon

which sentence is imposed. In the event that the Court determines that Defendant has breached
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this Agreement, as set forth in Paragraph 5 of this Agreement, then the waiver described in this
Paragraph shall continue through and including the date on which the Court determines that such
a breach has occurred. Defendant expressly consents to the entry of an Order by the Court
excluding such periods of time from such consideration.

7. Forfeiture. Defendant agrees to waive any claim to, and assist the United States
in effecting the forfeiture or other transfer of, any property that may be subject to forfeiture to the
United States under any law of the United States including, but not limited to, a money judgment
representing the amount of proceeds Defendant received as a result of the commission of the
above offense.

8. Validity of Other Agreements; Signature. This Agreement supersedes any prior
understandings, promises, or conditions between this Office and Defendant. However, in the
event that Defendant fails to enter his guilty plea or is allowed to withdraw his guilty plea
entered hereunder, and the Court determines that Defendant has not breached this Agreement,
then any proffer agreement between the parties shall remain in effect. No additional
understandings, promises, or conditions will be entered into unless in writing and signed by all
parties. The signature of Defendant in the space designated signifies his full and voluntary

acceptance of this Agreement.
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I have read this Agreement and have carefully reviewed every part of it. I understand it
and I have voluntarily agreed to it.

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Nathaniel Rivera, Defendant

 

I am legal counsel for Nathaniel Rivera. I have carefully reviewed every part of this
Agreement with Nathaniel Rivera. To my knowledge, Nathaniel Rivera/s decision to enter into
this Agreement is an informed and voluntary one.

Date: ( 7 {7

  

FOR THE UNITED STATES:

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David B. Joyce
Assistant U.S. Attorney

Approved: IW
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